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                    IN THE CIRCUIT COURT OF TH E ELEVENTH
                    CIRCUIT IN AN D                         .IUDICIA L
                                    FOR M IAM IDADE COUNTY, FLORIDA


       JAMESBUC                                                       FILED By                  ao
                     KM AN and               Case No.19-                                        ''
      MAURICESYMONETTE                                 2 Z/ITV            jjj j:a
      Pl                                                               2.          a
        aintift          sEcosAEsssssEcoxo AME                         X lta'

                                                 NDEO coM pla lx        .
                                                                           kjjlt
                                                                               lokjs
                                                                                 t,rr%'..vj
                                                                                          xu!
                                                    1. QUIET TITLE
     LANCASTER MORTGAGE LLC                                SLA ND ER O F TITLE
     CO.,DEUTSCHE BANK NATIONAL
     TRUST C0 . AS TRUSTEE UND ER TH E                     BANK VIOLATPID 30 DAY NOTICE T0
     POOLING AND SERVICING                                 SALENOTEJN VIOLATION OFFLORIDA
     AGREEM ENT SERIES RAST 2006-                      STAT.559.715
     (CSFB)                           48
            ,   C/O OCW EN A'rTN:VaultDept
     5720 Prem ier Park Drive, W estPalm .          4. UNJUST ENRICHM ENT
     Beach,FL.,33407,SECURITY
                                                       VIOLATION OF RESPA 12 U.S.C 2605
     EXCHANGECOMMISSION (SEC), U.S.
     DE
       PARTMENT 0FTHE TREASURY/I                       VIOLATION FL. STAT.697.10 NO
     IRS.                              .               CONTRACT
    Defendants.
                                                       FRAUD & CONCEALM ENT
                                                   8. VIOLATON O F FLORIDA STAT
                                                       45,031(8)PROPERTYSOLDAT.
                                                       FORECLOSURE PRICE SO
                                                       L0W THAT IT SHOCKS THE
                                                       CONSCIENCE
                                                       VIOLATION 0F TIM ELY
                                                       ASSIGN M ENT
                                                  10. BANK NO CONSIDERATION
                                                    M ON EY M UST BE G IVEN T0
                                                    ASSIGN NOTC

                                                  11. ELEVENTI-ICAUSE 0F ACTION
                                                    V IO LAT IO N GAA P FASB FA S 140
                                                    RULE AS GOVEQENED BY THE SEC
                                                     ANDTHEUSDEPARTJY?ENT OFTHE
                                                     TREASURY/ (IRS)
                                                   IZ.W RONGFUL FORECLOSURE
                                                        FLA.STAT 695. 14
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                                                                          13.Florida Deceptive and Unfai/
                                                                              Trade Practice

                                                                           14.     Illegal     Consum er
                                                                          Colleclionz/soo p?pz/ (-04s'
                                                                                                     w'

                                                                     15 VIOLArION OF
                                                                 THE 1964 CIVIL RIGHTS
     ACT




                                     COM
                                       '
                                         PLAINT FOR O UIET TITLE           .
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                                  /1.l,,/ p',rt'
                                               ;4W a,t .
                                                       otû'Jzw o rx ey
             COMESN0W thePlaintiffsMAURICESYMONETTEAND JAMESBUCKMAN, who are
           thirdparty personsto QUITETITLEAMENDED COM PLAINT VERIFIED PETITION
                                         FOR
               DECLAM TORY RELIEFAND IUDGM ENT :tstothispropertyurhow erenota
                partyto theForeclosureAccordingtothe3DCA CaseN0:3D19 0821 LOW ER-


               TRIBPNAL 2007-18226CA-01onfrontpageofAppealle'sM otion to Dism iss
                 theappeal#3,thereby elinlinatingResJudicataandRookerNeildman on
                                             Plaintiffs,Exhibit, A2.



                                  JP IURY TRIAL DEMANDED



               (''plaintiffl,complainingabouttheDefendantsasnamedabove,andeachor
                                                       them ,asfollow s
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Case 1:19-cv-24184-MGC       L - LM J LJOGI
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                                                                      rdïe Iz# (JIZP rdtjtlll../* I l
                                      PARTIES thatShare interestin the Pr
                                                                         operty:
                     1,PlaintiffM AURICE SYM ON ETTE isn
                                                         ow,atld ata11tim es relevantto this
             action,a residentofthecountyofDADE stateofFLoRlDA
                                                  /                . andaholderofther ritletothis
             said property
                    lA.Plaintifflam esBuckmanisnow andatallti
                                                             m esrelavanttothisactiona
                     residentofDade County and a holderoftitl
                                                            eto thissaid property,

                   2.LancasterM ortgage Bank LLC Defend
                                                       ant,w ho m ay have interestin the
                   subjectProperty.JAMESBUCKMA)!isinform edand believe,and there on
                   allege that,DefeIAIIJIItLANCASTER M o
                   b                                    rtgage BankLLC,isacorporation, doing
                     usinessintheCountyofDADEpstateofFLoRlDAandisthepurported Spo
                   fors                                                                nsor
                       ecuritizedTrustand/or
                  purported participantin the im perfectsecuriti
                                                                zationofNoteand/ortheDeedof
                  Trustasm oreparticularlydescribed i
                                                       n thisCom plaint. w ho'saddressis1794
                  Oregon PIKE LANCASTER P.A.17601.


                  3.DEUTSCHE BANKNATJONALTRUSTCOMPANY ASTRUSTEd
                                                                                      ,   UNDER THE
                  POOLING A ND SERVICIN GAGREEM ENT SERIESM ST
                                                              ZOO6-A8ICSFBI/whO
                  claimstoowntheSubjectpropertyc/oOcW EN:vaultDept.w ho'saddressis
                  l'
                   /6lEast.saintAndrew sPlace. Santa Ana California
                                                                          .   92705


                 4.U.S.TREASURY/IRSwho'saddressis1500Pennsylvania Ave.,N.W .
                 W ashington
                              ,   D.C.20220.

                      TheuNlTEDsTATEsTreasurym ayhavei
                                                           nterestinthisbecausethenotew as
              sold in RlM lcw hich bylaw hadtodestro
                                                    ytheNotetoturn itintoa Bondorastock
              becausethe
              Notecannotexistatthesam etim easth
                                                eBond,becausethatw ould becalled double-
                  dippingandbecausetheNotewasdestroyedTheu s.lnternalRevenue(U.S.
                                                                      .

                 Treasury)gaveDeutscheBankNationalTrustCompany AsTrustee
                                                                                           ,   UnderThe
              Pooling And Servicing Agreem entseriesRast2006
                                                                  A8(CSFB)a'raxwrightofffrom
                                                                  -


             theU.s.Treasuryasalossw hich givesThe U.S,Treasury interestintheprope
                                                                                  rty so
                thereforethetitlemustbeQuietedconcerningTheu saTreasury       .                  .
                                                                                                     ouite
               TlTLEisthesolereasonthatlam Suin
                                               gtheSEC and tlteusdept ofthe                      .
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                      5. SECURITY AND EXCHANGE COMM ISSION who'saddressis801 BrickellAVE.
                      #1800 M iam iFL.33131.



                                            CLA IM O F RELIEF



       .
           Plaintiffs Bringsthis action againstDEUTSCHE BANK NATJONAL TRUST CO M PANY AS TRUSTEE,UNDER

      THEPOOLING ANDSERVICING AGREEM ENTSERIESRASTZOO6-A8(CSFB)from now seenasDEUTSCHE
       BANK NATJONALTRUST. and Does 1-88 forselllng Plaiptiff's propertyAta Foreclosure sale to Deprive

       plaintiffs oftheir Residence w ithoutany Iaw fulclaim to the property because w e neversigned ordid any

       W arrety Deed,M ortgage orNote atalIw ith Deffendants.And forusing RACISM and DISCRIM INATIO N by

       DEUTSCHE BANK NATJONALTRUST to Evictusoutofa W hite Neighborhood becausew eare Blackand

       Iying to the Police saying w e are notallowed in the house who rem oved usfrom the house w ithoutlegally

       evicted violating ourBankruptcy earlierto evictus outofthe house w ithout a Court Orderseveraltim esand

       stealing m y furnishings property and fourstory 74 ft.yachtbecause w e are BLACK und helpless.And forRlC(

       Colluding w ith DADE COUNTY JUDGES,CLERK OFTHE COURTS,DADE COUNTY RECO RDS NOTARF S,

       ATTORNEYS )ITLE INSURANCE FUND,DADE COUNTY 5HERlFF5 DEPT. AND DEUTSCHE BAN K NATJONAL

       TRUST CO M PANY AS TRUSTEE,UNDFR THE POO LING ANDSERVICING AGREEM ENTSERIESRASTZOO6-A8

       (CSFB)from now seenasDEUTSCHEBANKNATJONALTRUST.andDoes1-88,LANCASTERM ortgageBan
       LLC,M ERS AND INDY M AC BANK to stealourhouse OFW HO IREPORTED TO THE FBlAND W ILLLATTER SUi




                         TheSECURITY AND EXCHANGE COMM ISSION (SEC)mayhave
                     interestin this because the fake N ote w as sold on the M arket Governed
                     by the SEC asevidenced by the factthatDEUTCHE BANK NATIONAL
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                   SERVICING AGREEMENT SERIESRAST 2006- A8 (CSFB),which is
                   The PSA S.E,C,

                   Stock and Bond M arkettherefore The Title m ustbe quieted

                   AgainsttheSEC.QuiteTITLE isthesolereason thatlam Suingthe

                   SECand theusdept.oftheTreasury/lRs inthisCom plaint.


                     Defendant,LANCASTER M ortgage Bank LLC PlaintiffJAMES
                     BUCKM AN is inform ed and believe,ktnd there on ailege that,
                     DefendantLAN CA STER M ortgage Bank LLC,is a corporation,doing
                     business in the County ofDAD E,State ofFLORIDA and is the
                     purported SponsorforSecuritizedTrustand/orpurportedparticipant
                     in theimperfectsecuritization ofNoteand/ortheDeed ofTrustas
                     m ore particularly described in this Com plaint.


              2.Defendant,LANCASTER M ortgage Bank LLC.Plaintiff JAMES BUCKMAN is
              inform edand believe,and thereon allege that,Defendant LA NCA STER
              M ortgage Bank LLC,isa corporation,doing businessin the County ofDADE,
              State ofFLORIDA and isthe purported M aster Servicer forSecuritized Trust

              and/orapurported participantintheim perfectsecuritizationoftheNote
              and/ortheDeedofTrustasmoreparticularly ascribed in thisCom plaint,


                          3.Ata1ltim esrelevantto thisaction,PlaintiffJAMES
                   BUCKM AN hasow ned the Property located at 1977 N E 119th RD
                   M IAM IEh.33181 (theflproperty'').

                              PlaintiffJAMESBUCKMAN isinformed andbelieve,and
                   thereon allege,thatatalltim es Parein m entioned,each ofthe
                   Defendantsweretheagents,em ployees,servantand/orthejoint-
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                   courseandscopeofsuch agency,employmentand/orjointventure.




                                   INTRODUCTION IURISDICTION AND VENUE


                          5. Thetransactionsandeventswhicharethesubjectmatter
                   ofthis Com plaintalloccurredw ithinthecountyofDADE,stateof
                   FL0RIDA.and theUnitedStateSDEALINGW ITHTHEU.S.TREASURY
                   A ND TH EFEDERAL SECU RITIES AN D EXCHAN GE COM M ISSION

                   t'
                    SEC)along with FederalViolationsgivesthisFederalCourt
                   Jurisdiction.

                           6. The Property is located w ithin the County of DADE,State

                   of FLORI DA w ith and address of 1977 N E 119th RD M IAM I FL.

                    33181. M aurice          Sym onette           live    in    the     of    Texas

                    Defendants/RespondentsarecitizensoftheStatesofOregon,CA,DC,
                    New York and Florida.Thele is com plete diversity of citizenship

                    betw een Plaintiff/ Petitioner and Defendants/Respondents.
                    Petitioners seek to quiettitle to Petitioners'property,The am ount in

                    controversy exceeds$75,000.00.

                                            B A CK GR OU ND


         16.On inform ation and belief,D eutshe Bank & Lancaster could not prove
             theterm softhe instrum entand itsrightto enforce the instrum ent.The
             court m ay not enter judgm ent in favor of the person seeking
             enforcem ent unless it finds that the person required to pay the
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     (3)(A)and
     F.S.695.26 (1).seeexh.C.PAGE 2.Thenam eofeach personwho
     axecuted such instrum entis legibly printed,type w ritten,or stam ped
    upon such instrum ent im m ediately beneath the signature ofsuch person
     and the po,st-office addressofeach such person islegibly printed,
     typew ritten,orstam ped upon such instrum entin violation ofF.S.69$,01
     (1)AND F.S.G95.26 (1)(a)andF..S.494.0075 (5)and
     F.S.701.02 (1)(2)(3)exh.A.
                        54.

                        IFIRST CAUSE OF ACTION OUIET TITLE
          FLA.STAT UE 95.11 CA L COD E CIVIL PROCEDU RE 760.020


         NEW LY DISCOVERED EW DENCE.AND FRAUD.FEDERAL RULE 60 (11)(2)(4)
       (6)AND Fla.R.ofCiv.Proc.1540 11QISTANDING CAN BE QUESTIONED AT
       (7) ANYTIME FEDERAL RULE 3.1 ThisistotalFraud,M ERSand DeutscheBank
       (8) isbreaking aIlLawstotakeourpropertybecausewcareblackinawhiteneighborhood
       4.
        :said to usby a Deustche Bank Rep wllo said w e whites don'twanêBlacksin this

         Neighborhood and the police took myyachtbecause my Neighborsaid he didn'tNiggerson
         Yachtsin hisNeighborhood see Godsz.com video 10A

      Newly discovered evidenceand fraud,March 4fl/018,wewenttotheDade

      County records Departm entbecause allM ortgage Notesare Required to be

      Recordedwith OriginalSignaturesF.S.701.02 (14(2)(3)exh.A.and.W e
      discovered thatthe Lancaster M ORTGAGE NOTE has absolutely no signatures of

      thesocalledbuyer(LeroyWilliams)on NoteasRequiredbyF,S,695.26(1)(a),
      which causedmetosearchthewholerecordto discoverthatAllBuycr's(Leroy
      lA/llllnm /c'l CIS M ArrlID N Q eau H lhlrPlA 1 Q eavn nll K le
                                                                    amlzorln xll-eau rl tlao laleaz'lz'nrl n,ll-
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                                                                                  '
                                                                                  braïell.l6OJ


     signatureasshown ongodsz.com #1shpwingtwoDadeCountyClerksJose

     SilvaID # 311083andGuettyJean1D # 217325behindTHEIR Clerk'sdesk
     behind protective glass,Hels on Video red stam p the m ortgage and saying the

     recordsdept.w illnotRecord M ortgages w ithoutthe originalsignature and She's

     on video after red stam ping and putting m y paym entieceipton the Certified so

     called Leroy W illiam s show ing M ortgage Note on Cam era,video show sblacked

     outinitialson Lancaster Note.

      Andtw om anageisoftheClerk'sofficesayillgtherfz'snow aythisNoteshould

     havebeen putonRecorded w ithoutthesignature,seegodsz.coin #AA.andAB.

      and Irecordedthis
Case 1:19-cv-24184-MGC Document 45 Entered on FLSD Docket 08/18/2020 Page 9 of 161
      k-abe o.1Z-UV-UUDYU-GM L-CMJ LluuulllelltZ rlleu UJ/JU/IZ rdïe I/ iJIZO raïell.l*0D


     allon docketforLeroyW illiam sthere'snosigned M ortgage,Prom issory or

     Prepaym entRiderRecorded inDadeCounty.rfhereisnolostNotecountin

     DeustcheBank com plaintand M ERSisnotlisted intheNote asN olninee or

     anything atall,exh.A.W hich isw hythey did a Fake M ortgage A ssignm ent

     w hich included the Prom issory Note as stated on the bottom ofthe A ssigned

     note from Lancaster Bank to M ERS exh.C.,signed by the W ce Presidentof

     Lancaster(DarlenePerera)thesameladywhoontheexactsam edateshe
     signed afakeAllonge to anotherBank called lndy M ac Bank before the

     Assignm erltto

     from Lancaster Bankto M ERS,illegalsee exhibit.cc 1-5you can'tGIYS a

     Note to tw o differententitiesespecially onthesam edate.A nd did notrecord

     theassignm entuntil2007 lyearand sm onthsaftersaleofthe N otew hich

     m akestheN ote Void according to F.s.exh.c.Allow ing an unsigned M ortgage

     Noteto beRecorded in Floridaw hich isa Felony,F.S.817.2341and 775.082,

     775.083and 77s.o84.Andareallforgeriesthatcan alm ostbeseen ttnderthe

     blacked outinkw hen com paringthatsignaturetotheothersignatllresofthe

     othernotesw ith thecorrectsignature seetheplaintiffs Lancster's

     Recorded N ote show sN ote hasaw rong forged signature thatyou can

     seeunder theblacked outsignature,exh.A .ThlsisthecorrectLeroy

     W illiam 'srealsignature from theothernotefrom realRecoided N oteof.

     LerovW illiam 'sothernronertv,From a

      realClosings,seepgs,16 and Z0 of,exh.Bland B2,And Flam ingo Title
                                              17
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      Com pany w as sued byAttorneyrfitle lnsurance Co.Because ofm opey given

      butnoNote,exh,F,.find novalidW arranty DeedbecauseAlexanderM orera

      w asnotthereand did notsign the W arranty Deedzexh,G,0neoftheow nersof

      thehome1977nellgthroadMiam i33181,Jam esBuckm anwasnotatthe

      closing,seeaffidavitexb.H,andJam esBuckmandidnotsignanythingasit
      APPEARED onthefakeW arrenty Deed,exh.G.seelam esBuckm an's

      realsignature on ilrivers license,exh.H 2,Som eone illegally signed for

      Jam esBuchm an.see Affidavitfrom M aurice Sym onetteanotherow ner

      sayingthathe(Maurice)wastheirattheAngry wiped outnonclosingand
      witnessed thatJam esBuckman,TannerCarçer,AiexanderM orera nordid
      Leroy W illiam s show up to the closing and the W arranty D eed w as not

      signed,seeexh,L,Affidavitfrom JamesBuckman stateingthathewasnot
      atthe closing so there w as no LegalW arranty filed on the Record!So

      paym ents continued to Bank,exh.SP,S2,S3.and then EM C M ortgage Bank

      EM C.M ortgage co.w rote and said m ake allpaym ents to IN DY M AC BAN K,

      A nd Paym ents w ere m ade on tim e even six m onths after D eutsche Bank

      Foreclosurewasstarted 06/20/2007,exh.M.Seereceiptsshowing
      payments06/19/07 to09/29/074 monthsafterDeutscheBankoreclosure
      started exh K1,K2,K3,K4.A nd unknow n Bank.Deustch Bank Lis

      Pendance date filed w ith no D ue Process Notice to us.see page 11 ofDade Docket

       exh,0.This filed w hile Paym entsw ere stillbeing m ade and on TIM E,exh.

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       And notice the Note blacked outthe Loan Num berso thatyou could

       notcheck it,exh.A.they also m ade big m istake and show ed that Lancaster

         Bank A llonged theNoteto IndyM ac Bank FSB, Exh.F.So the oniy Bank

         then thatcould sellorA ssign the LancasterN ote to M ER S is lndyiW ac B ank
                                                                                         ,


         ofcourse thiswasneverdone BecauseLancasterw ithoutN ote ow nership
                                        .




         sold theN O TE illegally to M ER S w ho then illegally A ssigned the N ote to

        D EU TSCHE BAN K butafterthey started The Foreclosure law suit see exh.
                                                                           ,


         Q.and exh.E3,which isalsoillegalaccordingto M cleanVs Jpsforgan.This
                                                                       .




         R. is a totally a m ade up Foreclosure thievery w ow .
      LAN CA STER M ORTGAGE BA NKERS, LLC m ay have or claim an interestin the

      propertythatisthesubjectofthisForeclosure action by virtueofa
      m ortgage recorded in officialRecordsBooh 23966, Page 3483,orm ay otherwise
      claim an interestin the property. PirstCom m ercialCORP,m ay have orclaim an interest

      inthepropertythatisthesubjectoftheforeclosureactionbyVirtueof; Fake Mortgage           .




     2.Theinterestofeach Defendantaresubject, Subordinate and inferiorto the
     right,title,interestand lien ofplaintiffsm ortgage w ith the exception ofa
                                                                                     ny
     specialassessm entsthataresuperiorPursuantto FloridaStatues159 (2006),
     and Florida Statues 170,09 (2006)


      3.SEC M ay have an interestin theproperty as evidenced by DEUTSCHE Bank
      NA TIONA L TRUST CO . AS TRUSTEE UN DER TH E POOLING A ND SERVICING

     AGREEMENT SERIESRAST 2006-48 (CSFB),C/O OCW EN ATTN:VaultDept                       ,




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         57Z0 Prem ier ParkDrive,

         W estPalm Beach,FL.,33407 having the note on the SEC stocks Grbondsm ark
         they m ustA LSO IF LA N CA STER W A S ACTUA LLY A N OTE
                      .
                                                                                 etso

          OnoraboutM arch 1, 2006(hereinafterreferredtoas'
                                                         'closingDate'')
       Plaintifflames Buckm anwhoownsthehousethatwasowned byla
                                                                                          eroy
       W illiam sw ho w assupposed to enterintoa consum ercreditt
                                                                                    ransaction

      w ith LANCASTER M ortgageBankLLC BY OBTAINING A $1 5 m illion             .




      m ortgageloan secured byaFirstTrustDeed on theProperty

      in favorofLancasterLLC, Butthe SALE N EVER HAPPENED TH E M AKE loan on theh
                                                                                                            ouse




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      w assecuritized,w ith the Note and notbeing properly transferred to Defendant,

      Deutsche Bank,acting asthe Trustee forthe LA NCASTER M ortgage Bank LLC,

      holding plaintiffs note.Docum ents filed w ith the SEC by the securitization

      participants allegedly claim

      thatthenote and deed oftrustatissuein thiscasew eresold,transferred and

      Securitized by Defendants,w ith otherloans and m ortgagesw ith aggregate

      principalbalance ofapproxim ately$1.5m illèonintoLANCASTER 5'
                                                                  Iortgage

      BankLluc Balanceofcccrrrust,w hich isacom m on law Trustform ed

      pursuanttoN ew York law .A detailed description ofthe m ortgage loans

      w hich form the LANCASTER M ortgage Bank LLC is included in Form 42485

      (''Theprospectus''),whichhasbeendulyfilledwiththeSECandwllichc

      an be accessed through the above m entioned footnote.


      An expert,certifiedzforensicauditofthe Plalntiffsloandocum entsrevealsthat
     Plaintiffs m ortgage notew asrequired to atleastgg through thisassignm ent
    chain ofkeyparties before itreached the REM IC trustee itw asdestined
    for:rf'hePlairtiffsPsA requiresthathis/hernoteordeedoftrusthadtobe
    endorsed and assigned,respectively,to thetrustand executed by m ultiple
    interveningpartiesintheabovechain ofassignm entbefore
     itreached theREM IC Trustee.
     Plaintiffexecutedaseriesofdocum ents,includingbutnotlim itedtotheNote
    and D eed ofTrust,Securingtheproperty in the am ountofthe Note.rrhe
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     Originalbeneficiary and nom inee under the D eed ofTrustw as m el's.
     Plaintiffisinform ed andbelieveszandthereonallegesythatthepurchase
     m ortgageonthe propertyzthedebtorobligation evidencedbytheNoteandthe
     deed ofrrrustbyplaintiffin favor ofthe originaliender and other Defendants,
     regaifding the Property,w as notproperly assigned and transferred to
     Defendantsoperatingthepooled m ortgagefundsortrustsinaccordancew ith the
     PSA and/orFLORIDA lay ofentitiesmakingandreceivingthepurported
     assignm entstothistrust.InaccordancewiththepsAand/orFLoRlDAlaw
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     ofthe entitiesm aking and receivingthe purported assignm entsto thistrust         .



     Plaintiffalleges thatthe PSA requires thateach N ote ofTrusthad to
     endorsed and assigned,respectively ,to the trustand executive by m ultiple
     interview ing parties before it reached the Trust.Here,neither the Note nor
     the Deed ofTrustw as assigned to the Securitizedel'rustbyclosingdate.
     Therefore,underthepsA,anyassignm entsoftheDeed ofrrrustbeyondthe
     specifiedclosingdatefortheTrustarevoid.plaintifffurtherallegesthateven
     ifthe Deed ofTrusthad been transferred into thetrustbytheclosing date,the
     transaction is stillvoid asthe N ote w ould ncthave been transferred
     according to the requirem entforthe PSA,Since the PSA requires a
     com plete and unbroken chain oftransfer and assignm entstoo and from each
     intervening,Plaintiffinform ed and believes,andthereon allegeszthatthe
     LANCA STER M OI-tgage                             Bank LLC had no officers or
     directorsand no continuing duties otherthan tohold assetsand to issue the
     seriesofcertificates ofinvestm entin m ortgage backed securities in the
     prospectus,

     Identified herein below .detailed description Ofthe m ortgage loans,w hich form
     the
                                                                                   dul
    y filledw ith thesEc andW hich can beaccessedthrough thebelow m entioned
     footnote,


           Plaintiffisinform edandbelieves,thatDefendantsDeutschebank alleges
           thatitisthe ''holderand ow ner''oftheN oteandthebeneficiary oftheD eed
           ofrrrustzHow ever,the N ote and Deed oftrustidentify the m ortgage and
           notholderas the Griginallender allegedly sold the m ortgage loan to
           LA NCASTER M ortgage Bank LLC
           Plaintifffurther alleges thatno docum ents orrecords can be produced that
           dem onstrate thatpriorto the closing date for LA NCASTER M ortgage Bank
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          LLC the note duly endorsed, transferred and deliveredtol
                                                                  aA NcAsr f'ER
          M ortgage BanklzLc includingallinterview ing tr
                                                         ansfers.Norcan any
          docum ents or records be produced thatde
                                                    m onstrate that priorto the
          closing date,the Deed ofTrustw asduly assig
                                                       ned,transferredanddelivered
          tOLANCASTER M OIIgageBankLLcincludingallinte
                                                            rvening assignm ents.

           Plaintifffurther alleges that any docum ents that
                                                                   purport al'y interest
          inthe N ote to LA N CASTER M ortgage Bank LLC
                                                                 after the Trust closing
          date are void as a m atteroflaw ,
                                               pursuantto NEW YORK triistlaw an.d
          relevantportions f)fthe PSA .
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      PlaintiffJAMES BUC KMAN'S Leroy W illiams) debt or obligation did
      notcom ply w ith New York law , and/orotherl
                                                 awsandstatues,and, thus,
      do notconstitutevalid and enforceable''TrueSale ''A ny security interest
                                                              ,


      in the Property w as, thus,never
      perfected.Thealleged holderofthe Noteisnottheb
                                                       eneficiary oftheDeed
      of-frustTheallegedbeneficiary ofplaintiffsDeed ofTrustdoesnothave
      therequisite title, perfected security interestorstandingtopr
                                                                   oceed in a
      foreclosure;and/ornottherealpartyin interestwithregardto any
      Action taken to be taken againstthe property.
      PlaintiffJAMESBUCKMANSisalso inform ed and believe and thereon
                                                                  ,
     alleges thatatalltim esherein m entioned,and anyassignm entofa Deed of
     Trustw ithoutproper transfer ofthe Obligation that it
                                                          secures is a legal
     nullity.

    ln orderforthe Trustee ofthe securitized trustto hav
                                                          e a valid and
    enforceable secured claim againstPlaintiffs H om e the Trustee m ust
                                                          ,

    prove and certify to a1ipartiesthat, am ong otherthings required under
    the PsA:rrhere w asa com plete and unbroken chain of
                                                        endorsem entsand
    transfersofthe Notefrom andto eachparty tothesecuritization
    transaction(whichshouldbefrom theAMortgageOriginatortoth e(B)
    Sponsortothetc)Depositortothe(D)Trust/Trustee, antithatalJthese
    endorsem entsand transfersw ere com pleted priorto th
                                                         e Trustclosing
    ilates(SeeDiscussion below);andTheTrusteeoftheSecuritizedTrust
   had actualphysicalpossession ofthe Note atthatpoi
                                                   ntin tim e,w hen al1
   endorsem entsand assignm entshadbeen com pleted. Absentsuchproof
                                                                               ,
   PlaintifflAMEsBUCKMAN allegesPlaintiffJAM ES
   BUCKMAN'SHom ethatistheSubjectofthisaction             .

    Therefore,iftheDefendants, and each ofthem didnothold and possess
    theN oteon orbeforetheclosingdate ofR'rustherei
                                                   n,they are estf,pped
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       and precluded from asserting any secured orunsecured claim in this
       case

           PlaintiffJAMES 8UCKMAN isinform ed and believes,and thereon alleges,
           thatpursuanttotheterm softhePsAztheMortgageOriginator(i.e.,the
           originallenderherein)agreed totransferand endorseto theTrusteefor
           the Securitized trust,w ithoutrecourse,including allintervening transfers
           and assignm ents,allofits right,title and znterestin and to the rnortgage ioan
           (Note)ofPlaintiffJAMESBUCKMAN hereinandallotherm ortgageloans
           identifiedinthePSA.PIaintiffJAM ESBUCKM AN
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            isfurtherinform ed andbelieves,andthereonalleges,thatthepsA pro
            idesthatthetransfersandâssîgnmentsareabsolutezw erem adefor
           valuableconsiderationzto w itz inexchangeforthecertificatesdescribed
           inthePsAzand w ereintended bythepartiestobeabonafideot'''-rrue
           sale.''Since,asalleged hereinbelow , -fruesalesdid notactuallqoccur,
           PlaintiffallegesthattheDefendantTrusteesareestopped and precluded
           from asserting any secured or unsecured claim in thiscase.


          PlaintiffJAMES BUCKMAN isfurtherinformed and believes, and thereon
          alleges,thatasaresultofthe PsA and otherdocum entssignedunderoath in
          relatiop thereto the M ortgage Origitlator, sponsor and Depositorare
          estopped from claim ing any interestin the N ote that is allegedly secured
          by the Deed ofTruston PlaintiffJAM ES BUCKMANS Hom eherein                      .




         29.             PIaintiffJAM ESBUCKMAN isinform edandbelieve, and
 thereonallege,thatthe N ote in this case and the other m ortgage loans
 identified in thePSA,w ere never actually transferred and delivered by the
 M ortgage Originator to the Sponsor orto the Depositor from the Depositor to
 the Trustee forthe Securitized Trust. PlaintiffJAMESBUCKMAN furtheralleges,
 on inform ation and belietthatthepsA herein providesthatthe M ortgage Filesof
 the M ortgages w ere to be delivered to LAN CA STER M ortgage Bank I'LC w hich
 M ortgageFilesincludetheoriginalDeedsofTrust, herein,Based upon the
 foregoing,PlaintiffJAMES BUCKMAN isfurtherinformed and believe, and
 thereon allege,thatthe follow ing deficienciesexist,in the''-rruesale''and
 securitization processastothisDeed ofrrustw hirhrendersinvalid anysecurity
 interestintheplaintifflAMEsBUCKMANSm ortgage,including, butnotlim ited
 to:


         a Thesplitting orseparation oftitle, ow nership and interestin Plaintiff
  JAM ES BUCKM ANSNoteandDeedorrrrustofw hich theoriginallenderisthe
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   holder,ownerand beneficiary ofPlaintiffJAMES BUCKMAN'S DeedorTrust;
          h W hen theloan w assold toeach interview ing entity therew ereno
                                                                ,

   A ssignm ents ofthe Deed oftrustto orfrom any interview i
                                                            ng entity atthetim e
   ofthesale,Therefore, ''True Sales''could not and did notoccur;
                                                   .


           Thefailureto assign and tryusherthebeneficialinterestin PlaintiffsDeed ofTrust

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  to Deutsche Bank,in accordance w ith PSA ofthe Defendants,as Securitization
  Participants;


         d thefailuretoendorsezassignandtransferplaintifflAMEs
  BUCKM ANSNOTEAND/OR mortgagetoDefendantBank,asTrusteefor
   LANCASTER M ortgage Bank LLC
         E.N o Assignm ents ofBeneficiary or endorsem ents ofthe N ote to each
   ofthe intervening entitiesin the transaction everocrurred under Florida Law ,w hich
  is conclusive proofthat no true salesoccurred asrequired under PSA filed w ith
   the SEC;and

         F.Defendants,and each ofthem ,violated the pertinentterm s ofthe PSA,
             30.PlaintiffIAMESBUCKMAN,therefore,alleges,uponinformation
             andbelief,thatneitherthe securitization transaction,norany ofthe
             Defendallts in this case,hold a perfected and secured claim in the
             Property;and thatallDefendantsnre estopped and precluded
             inserting an unsecured claim againstPlaintiffJAMES BUCKMAN'S
             estate.


                       The term s ofthe finance transaction w ith LANCASTER
         M ortgage Bank LLC arenotclearorconspicuous,norconsistent andare
        illegalw hichviolatesseveralstatues and is in essence creates a
         fraudulentand unenforceableloan,further,thisloanw asunderw ritten
        w ithoutproperduediligencebyLANcAsTERM ortgageBank LLC as
         evidenced by theirfailureto verify borrow er's incom eutilizing signed
         IRS Incom erraxD isclosureEorm 4S06T w hich w ould haveprovided past
         borrow ertax returns.LANCASTER M ortgage Bank LLC also used a ''GDW
         CostofSavings''asthe Index forbasisofthisloan.BecausetheLender
         controlsthislnderand itisdirectly based upon the parentcom pany itw as
         nota valid index forthe basis oftheloan,
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               32.     In addition, andunbeknownstto PlaintifflAMEs
         BUCKM A N,INDY M AC BA NK, EM t-'
                                         ,M ORTGAGE BANKERS LLC knew or
        should have know n thatPlaintiffJAMES LUCKMAN could notqualify for
         orafford by,forexam plethe underw riterhasap
                                                        proved thisloan based
        upon creditscoresandtheborrow er'sStated Incom eonl
                                                               y ilad
        LANCASTER M ortgagebanklul,cusedam oreaccurateand appropriate
        factorzsuchasrraxForm sandam oredeterm inati
                                                       ve leverofscrutiny of
        determ ining com ply w ith therequirem entto p
                                                          rovidePlaintiffIAMES
        8UCKM AN

                                                22
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         w ith a M ortgage Loan Origination Agreem entthe debtto incom e ratio,
         PlaintiffJAMESBUCKMAN with aMortgageLoan OriginationAgreement
         thedebtto incomeratio,PlaintiffJAM ES BUCKMAN W ITHA M ORTGAGE
         LOAN ORIGNATIO N
         Agreem entthedebtincom eratio,PlaintiffJAMESBUCKMAN would not
         havequalifiedfortheloan inthefirstplace consequently,LAN CASTER
                                                         .



         M ortgageBank LLCSOLD PLAINTIFFJAM ESBUCKM AN aloanproduct
        thatitknew orshouldhaveknow n w ould neverbeableto be fully paid
        back by Plaintiff

          JAMES BUCKMAN.
          55, A dditionally,Defendantsandeach orthem , neither
          explained the w orkings ofthe entire m ortgage loan transaction,
          how the rates,rinance charges,costsandfeesw erecom puted,
          northeinherentvolatility ofthe loan products provided by
          defendants.

          56.The purpose ofentering into the above-described m ortgage
   loan transactionsw asforPlaintiffto eventually ow n theproperty That       .



   purposew asknowingly and intentionallythw artedand indeed m ade
   im possible by Defendants com bined actions as alleged herein,


              PlaintiffJAMESBUCKMAN'Stitletotheabove-described
  property is derived asfollow s:On oraboutM arch 1, 2006(hereinafter
  referredtoas''Closing Date'')LeroyW illiamswethoughtenteredintoa
  consum ercredittransaction w ith LA NCASTER l/ortgage Bank LLC by
  obtaining a $2,600,000,00 m ortgage loan secured now by Plaintiff
  JAMESBUCKMAN'Sprincipalresidence,(SubjectProperty).Thisnote
  w as thoughtto be secured by a FirstTrust Deed en the Property in
  favorofLAN CASTER M ortgage Bank LLC
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        58, AllDefendantsnam ed herein claim an interestand estatein
    thepropertyadversetoplaintiffinthatdefendantassertshe'sisthe
    ow nerofthenote secured by thedeed oftrustto the property the
    subjectofthissuit.
        sg,AllDefendantsnam edhereinclaim saninterestandestateintbeproperl
        adversetoplaintiffJAM ES 8UCKMAN inthatdefendantassertsheis

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        Theclaim ofalldefendantarew ithoutanyrightw hatsoever,anddefendantshaveno right,
        estate,title lien orinterest in or totheproperty,orany of the property,

        60. The claim ofalldefendants herein nam ed,and each ofthem ,claim
 som e estate,right,title,lien or interestin orto the property adverse to Plaintiff
 JAM ES BUCKMAN stitle,and these claim sconstitute a cloud on plaintiffstitle
 to the property.

        61,PlaintiffJAMES BUCKMANS,therefore,allege,upon information and beIief,
 thatnone ofthepartiesto neitherthesecuritization transaction,noranyofthe
 Defendantsinthiscase,hold aperfected andsecured claim intheproperty;and
 thatallDefendantsareestopped and precluded from asserting an unsecured claim

 againstplaintifflAM EsBUCKMANSestate.

        62.PlaintiffJAMESBUCKMAN requeststhedecreepermanentlyenjoinandall
 personsclaim ing underthem ,from asserting any adverse claim to plaintiffstitleto
 theproperty;and

        63.PlaintiffJAM USBUCKMAN requestthecourtaward plaintiffcostsofthis
  action,and such other reliefas the courtm ay deem proper.

           B.DefendantM ERS canrotbe a RealParw in Interestin a Securitized m orteaee


        64,SincethecreationofplaintifflAMEsBucKMAN'sNotehereinand
  DeedofTrust,DefendantM ERS w asnam ed the ''beneficiary''oftheDeed of
  Trust.


                 65,Plaintiff is inform ed and believes, and thereon alleges,that
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          DefendantsM ERs lacks the authority under its corp
                                                                         orate charter to
          foreclose a m ortgage, orto ow n or transfer an interestin a securitized

          m ortgage because M ERS charter lim its M Elk's pow ers and duties to

          functioning as electronic registration system of certain types of

          securities.PlaintiffJAMES BUC ItMAN iS inforined and believes,and
         thereon alleges,thatin order to conducua foreclosure action
                                                                               ,   a person
         Orentity m usthave standing     .




                66.PlaintiffJAMESBUCKMAN isinformed and believes, and thereon
         alleges, that pursuant to N ew York law , to perfect the transfer of

         m ortgage paper as collateral,the ow ner should physically deliver the

         note to the transferee,W ithoutphysicaltransfer, the sale ofthe note is

        invalid as a fraudulentconveyance or asunperfected           .




               67.The note is this action identifies the entity to w hom it w as

        payable, the original lender. Therefore. the Note herein cannot be

        transferred unlessitisendorsed;theattachm entstothenotice ofdefaultdo

        notestablishthatendorsem entsw erem ade, norarethereany othernotices

        w hich establish that the original lender endorsed and
                                                                           sold the note to
       another party,
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                68.Furtherm ore,insofar as the partiesto the securitization ofPlaintiff

          JAMES BUCKMAN'S Note and Deed ofTrustbase their claim thatthe Note
          w as transferred or assigned to DefendantDeutsche Bank,the Trustee ofthe

          Securitized M ortgageherein,by theoriginallender,itisw ellestablished state

          law thatthe assignm entofa Deed ofTrust does notautom atically assign the

          underlying prom issory note and rightto be paid and the security interest is

          incidentofthe debt.



                Pursuantto state law ,to perfectthe transfer ofm ortgage papersas
                collateralfora debt,the ow ner should physically deliver the note to the
                transferee.W ithoutphysicaltransfer,the sale ofthe note is invalid as a          .




                fraudulentconveyance,or asunprrfected.The N ote herain specially identifies
                the party to w hom itw aspayable to and the N ote,therefore,cannotbe
                transferred unless itis endorsed ,



                69,Defendants,and each ofthem ,cannot produce any evidence that

         the Prom issory Note has been transferred;therefore),Defendalnt M ERS could

         only transfer w hatever interest it had in the Deed of Trust her ein.the

         Prom issory Note and Deed or Trustare inseparable:an assignm entofthe

         Notecarriesthem ortgageti.e.,Deed otTrust)with it,while an assignm ent
         ofthe Deed ofTrust alone is a nullity,Therefore,if one party receives the

         Note and another party receives the Deed ofTrust (as in this case),the
         holderofthe Note prevailsregardlessofthe orderin w hich the interestw ere
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          transferred.



                 69,Defendants M ERS has failed to subm it docum ents authorizing

          M ERS,as nom inee for the originallender, to assign the subjf
                                                                      -ctmortgage
          to the foreclosing trustee Hence,M ERS lacked authority as m el'a nom inee to
                                      .




         assign Plaintiffsm ortgage, m aking any assignm entfrom M ERSdefective.



                70.In the instantaction,M ERS, asthe nom inee notonly lacksauthority

         toassign the m ortgage,butcannotdem onstrate the Trustee's know ledge or

         assentto the assignm entby M EH S to the foreclosing trustee         .
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               71.Any attem ptto transfer the beneficialinterestOfa trustdeed
         w ithoutactualow nership ofthe underlying note,isvoid under law .
         Therefore,Defendant,M ERS,cannotestablish thatitisentitled to asserta
         claim inthiscase.Forthisreason,asw ellastheotherreasonssetforth
         herein below ,M ERS cannottransferan interestin realproperty,and
         cannotrecover anything from Plaintiff.

               72.Defendants,and each ofthem zthrough the actionsalleged above,
         have or claim therighttoillegally com m enceftlreclosure undertheN oteon
         thepropertyviaa foreclosure action supported by false or fraudulent
         docum ents.Said unlaw rulforeclosureaction hascaused and continuesto
         causePlaintiffsgreatandirreparable injury in thatrealpropel'ty is
         unique,FLA.STATU E 95,11 CA L COD E CIVIL PROCEDURE 760.020.
         Plaintiffs seeks to quiettitle againstthe claim s ofthe Defendantsandall
         personsclaim ingany legalorequitable righttitle,estate,lien,or adverse
         interestinthepropertyasofthedatethecomplaintwasfiled(FL.statute
         95,11CalCodecivilprocedure76o.ozol.plaintiffsisthetitleholderofthe
         property according to theterm sofa grantDeed Dated Sept.07,14,2006.
         LancasterBank securitized plaintiffs single-fam ily residentialm tlrtgage loan
         by Selling theNote asasecurity onthestock m arket.Plaintiffisinform ed
         and believesthatthe unlaw fulbeneficiazy hasbeen paid in full,The
         m ortgage statesin paragraph lendershallrequesttrustee to reconvey the
         property and shallsurrenderthissecui'ity instrum entandallNotes
         evidencingdebtsecuredthissecurityinstrum enttoTrustee Trustee shall
         reconvey thepropertyw ithoutwarrantyto theperson orpersonslegally
         entitled to it.,.M ortgage doesnotstate thatPlaintiffm ustm ake a full
         paym ent,only that allsecured sum s lnustbe paid.Plaintiffalleges thatthe
         obligations ow ed to Lancaster underthe m ortgage w ere fulfilied and the
         loan w as fully paid w hen Lancaster received funds in excess ofthe balance
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          on theNOTE asProceedsofsalethroughsecuritizationts)oftheloan and
          insurance proceeds from creditdefaultsw aps.W e know thatM ERS w as
          used to sellthe N OTE in a bundle of5000 other NOTES on the M arket
          unendorsed so asto be dbleto sellitoverand overagain w ith each investor
          believing heow nsthe Note and to stop ir-vestoisfrom goingaflerand
          collecting on the investm ent.
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                  73.Reconveyance upon paym entofallsum ssecured bythis
            security instrum ent,FLA,STATUE 95.11 CAL CODE CIVIL PROCEDURE
            760.020 Plaintiff


                74.Kelleyv.U pshaw,39 Cal.2d 179,192,246 P.2d 23 (1952)9Hydev.
           Mangan,88 Cal.319,327,26 P,180 (1891)9Polhem usv.Trainer,30 Cal,685,688,
           1866W L 831(18664.SeeJohnsonv.Razey,Cal.342,344,184 P.657 (1919).

                  7s.rrhew rongfulconductoftheabovespecified Defendantsand
           eachofthemzunlessrestrainedandenjoined byanOrderofthecourt,
           w illcontinueto cause greatand irreparable harm to Plaintiff.Flaintiff
           willnothavethebeneficialuseand enjoym entofitsHomeantlw ill
           lose the property.


                  76,Plaintiffhas no other plain,speedy or adequate rem edy and
           theinjunctivereliefprayed rorbelow isnecessaryand appropriate at
           thistim e to preventirreparable lossto Plaintiff.Plaintiffhas surfered
           and w illcontinue to suffer in the future unless Defendants w rongful
           conductisrestrainedandenjoyedbecauserealpropertyisinherently
           uniqueanditw illbeim possibleforplaintiffto determ ine the precise
           am ountofdam age itw illsuffer.
                                SECO N D CAU SE O F A CTIO N SLAN D ER O F TIT LE


                       PlaintiffJAMESBUCKMAN re-allegesand
           incorporatesby reference allpreceding paragraphsas
           thoug'
                -lfully setforth herein,


                      PlaintiffJAM ES BUCKMAN incorporateshereeach apd
           every allegation setforth above.
                       Defendants,and each ofthem ,disparaged PlaintiffJAM ES
           BUCKM AN'S elfclusive vaiid title by and th rough the preparing ,
Case 1:19-cv-24184-MGC       Document
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            posting,publishing,and recording ofthe docum entspreviously
           descrined herein,including,butn0tlim ited to ,the Notice ofDefault,
           N otice ofTrustee's Sale,and Tiustee's Deed,
Case 1:19-cv-24184-MGC
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                   80.Said Defendants knew or shodld have know n thatsuch
            docum ents w ereim properinthatatthetim eoftheexecution and
            deliveryofsaiddocum entsDefendantshadnorighttitlez orinterestin
            theproperty,Thesedocum entsw ere naturallyandcom m onlytobe
            interpreted asdenying,disparaging,and casting doubtupon Plaintiffs
            Iegaltitle to the property.By posting, publishing,and recordingsaid
            docum ents'disparagem entofplaintiffslegaltitlew asm adetothe
            w orld atlarge.

                   81.Asa directand proxim ate resultofDefendants conductin
            publishingthese docum ents,PlaintiffJAM ES BUCKMAN'S titleto the
            Property has been disparaged and slandered,andthereisacloud on
            PlaintifflAM EsBUCKMAN'Stitlewhich wasobtainedbyquitclaim
            deedon 1/01/2007 seeexhibitand Plaintiffhassuffered,and
            continues to suffer,dam ages in an am ountto be proved attrial

                   82,A safurtherpioKim ateresultofDefendantsconduct, Plaintiff
            Jam esBuckm anhasincurredexpensesinordertocleartitletothe
            property.M oreover,theseexpensesarecontinuing/and Plaintifflam es
            8uckm an w illincuraddition charge for such purpose untilthe cloud
            on Plaintiffstitle to the property has been rem oved.The am ounts of
           futurfexpensesand dam agesare notascertainableatthisAsafurther
           directand prolfim ateresultofDefendantsconduct,Plaintifflam es
           Buckm an has suffered hum iliation,m entalanguish,anxiety,
           depression,and em otionaland physicaldistress,resultinginthelossof
           sleepand otherinjuriestohisandherhealth and well-being,and
           continuesto suffersuch injurieson an ongoing basis.Theam ountof
           such dam ages shallbe proven attrial.Atthetim ethatthefalse
                                                   3e
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           anddisparagingdocunAentsw erecreatc'd and published by tlke
           Defendants,Defendantsllnew thedocum entsw erefalseand created
           and published them with themaiiciousintentto injureto Plaintiff
           JamesBuckmananddeprivethem oftheirexclusiveright,title,and
           interestinthe Property,and to obtain the Property fortheiroivn
Case 1:19-cv-24184-MGC    Document
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           useby unlawfulm eans,The conductofthe Defendantsin publi.ihing the

           docum entsdescribed above w asfraudulent,oppressive,and m alicious.

           Therefore,PlaintiffJam esBuckman isentitledtoanawardofpunitive
           dam agesinan am ountsufficienttopunish Defendantsfortheirm alicious

            conductanddetersuch m isconductinthe future.




              THIRD CAUSE OF ACTION:THE BANK VIOLATED THE THIRTY-DAY NOTICE
             RULE THAT SAYS BANK M UST GIVE W HEN THEY SALE OR ASSIGN THE NOTK
                       AND CASE M UST BE 9ISM ISSED FLA.STAT.559.715




                  83.Theplaintiffm ustgivew ritten noticew ithin 30 daysof the

            assignm entFla.courtshave dem andep strictcom pliance w itllthe

            Statuteand haveheldthattherequired notice isa condition president

            to aDebtcollectionaction predicated uponanassignm entseeLvNY

            FundingLLc.v.HarrisFla.LW eeklysupp.cz3tFla.IICIR.Courtlune
            242009)whereinthecourtFoundthattheplaintifffailedto com ply
            w ith thewritten noticeofprovision ofF,S.5559.715andtherefore

            dismissedtheactionwith prejudice)accordinglytheplaintiffhasnever
            provided the Defendantthe m andatory 30 day ofassignm entthe case

            should also bedism issed forfailuretocom ply with a m andatory

            condition precedence.LancasterBank LLC Assignedw rongfullythe

            NotetnM ERsonthesam edaythe fake Closing w as doneand only done
Case 1:19-cv-24184-MGC    Document
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           asan exhibit,seeexhibitF2,and notapartoftheAssignnzent.So M ERS

           w asneverthe ow nerand the Deutsche Bank Assignm entfrom M ERS

           isVoid Com pletely and M ERS thuscausing Plaintiffsto suffer an

            im paired and defective Title,plaintiffs asked for Dam ages.


                       VIll.FOURTH CAUSE OF ACTION -UNIUST ENRICHM ENT
                                   KLORIDA STATUE 697.10
                  84.Deutsche bank has no interestin Plaintiffs M ortgage,so the
            foreclosureon Plaintiffspropertywouldconstituteunjustenrich
            m ent.The m ortgage states thatal1secured sum s m ustbe paid.
            Plaintiffalleges thatthe obligations underthe m ortgage w ere fulfilled
           w hen Deutsche Bank received funds in excess ofthe balance on the
            N OTE as a resultofproceeds ofsale through securitization t()private
            investors m any tim es and insurance proceeds from creditdefallltsw aps.
           And theyhaveaproperty freeand cleartojustsaleand keep a1lthe
            M oney




                       FIFTH cAtlsEOFACTIY -R? PAAND TltAvlotATloNs
                                       RESPA 12II.S.C.2à0j


                  85.DeutscheBankN .A.anditsagentsm adem aterial

            m isrepresentations and om issionsw ith respecttotheterm sof

            Plaintiffs loaninviolationoftheTruth In LendingAct(TILA).
            Plaintiffs is inform ed and believesthatLancaster 8ank concealedthe

            term softheloanw itlatheintention ofinducingplaintiffstorelSrain
Case 1:19-cv-24184-MGC          Document
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            rrom investigating and challenging thedisclosuresuntiltheperiod for

            rescinding thefake loan expired        .




                    86.Plaintiffs neverw entto any closing to receive any docum ents
            from Lancaster8ank ata Florida Title Com pany, including disclosures
            required by the Truth in LendillgAct, RESPA,and a noticeofrightto
            cancel.


                   87.Plaintiffsloanwould havebeen amortgageloan subjecttotheprovisions
                        of

                   88.RESPA,IZ U.S.C.2605 et,seq. and Cal.financialCodej505()5,



          BUT IFW ESAW THEREQUESTED INFO W EW OULD HAVESEEN THAT DEU:'SCHE BANK W AS
          REPRESENTING THAT THEY W ERE FROM LANCASTER BANK NOT COUNTRY W IDE BANK AND

          W E W OULD CAUGHT 0N T0 THE FACT THAT W E NEVER CLOSED THAT LOAN W ITH LANCASTER

           BANK AND THEY W OIJLD HAVE BEEN DESTROYED LIKE THE NEW FBICOM M ERCIAL SAYS

           THAT FRAUD ISTRICKSTERS JUST SIGN YOUR PROPRTY OVER TO THEMSELVES(DEUSTCHE
          BANK)AND,FORECLOSE AND EVICT YOU W HILEYOUR MAKING PAYM ENTST0 ANOTHER

                            BANK 0n Oct.12,2012,Plaintifbecatlsewe weretrickd into
             believingthat we requested acopy ofleloanapplication and Prom issory Note
             ataM iamibranch of Defendantsin Florida,:4bank OCR ccrtelephoned a
             LANCASTER M ortgage Bank LLC office in Florida thatw e thoughtw as Iand
             inform ed Plaintiffthathew ouldreceivetheloandocum entsintendays.N o
            docum entshave everbeen received. Becausethey knew they didn'thave a
            signed note and m ortgage and they knew thoughtthatLancasterand
            DEPTSCHEBANK NATJONALTRUSTwaSlndyMacasservicertoCOUNTRY
            W IDE BANK theBankw ewerem akingpaym entsto afterthe LANCASTER BANK
            didn'tcloseonfailed.So DEIJTSCHEBANK NATJONALTRUST trickedusinto
            thinkingthey w erethe bankw ewasto ask the questionsto aboutthe
            MORTGAGE and NOTE w ith the Federal RESPA 12 U.S.C 2605 OUALIFIDE
Case 1:19-cv-24184-MGC        Document
      k-aYe 0 .IZ-UV-U UD Y U-G M L-L M U I. 45 Entered on FLSD Docket 08/18/2020 Page 38 of 161
                                            JLIULIIIIUIltZLrIletTUJ/JU/IZ r'dïe JQ UIZk)raïelu HOJ


               W RITTEN REQPEST tomakethem show theierownership ofthepropertyand
               ourexactDeptowedtothem andDEPTSCHEBANK NATJONALTRUSTwould't
               reply in violation ofRESPA 12 U .S.C 2605 federallaw and in Dade County
               courtswehavebeen asking f0rthiswith 0urFederalRESPA 12 U.S.C 2605
               QUACIFIDEW RITTEN REQUEST form sinsethebeginningofthisfakeForclosure
              casebegan,EXH.


                   89. DefendantshaveenEaeedih ag actice ofnon-campliance with RESPA,
                                                            -                                              - -   -


            lncluding failing to respondtol operlvsubm itted OW R'S. see Exh..plaintiffis
           inform ed and belivesthatthispracticeisdesigned toconcealTlLA and RESPA
           Federalviolationsand toconcealtheidentity ofthem anyinvestorsw hobelieve
           theyare theow nersoftheNOTE, LANCASTER M ortgageBankLLcgotcash frorn
           andtrue beneficiary oftheLoan. Asadirectand proxim ateresultofDefendants
           failureto com ply w ith RESPA, Plaintiffshavesuffered and continuestc'sufferactual
           dam agesinthathe'sunabletoascertain thebasisfor defendantsclaim s tohis
           property,he cannotidentify the ow neroft'Ae bepeficiary ofthe Note, he can
          notdeterm ine w hetherhispaym entsto lndyMacBank paid to the beneficiary
          and there isno evidenceuponwhich toconcludethat Defendantsareactingas
          NOTE ow nerw ith the law fulauthority to foreclose the property. UnderRESPA,
          Plaintiffsseekstriple dam ages? and also documentswereordered forQualified
          W ritten Request.Form alPi-otestand Dispute ofAlleged DebtAnd Validity of
          Allegep Loan,Butneverreceived See exhibitD established atw o parttestfor                               -


          determ iningthelegalityoflenderpaym entstom ortgagebrokers fortable
          funded transgctionsand interm ediary transactionsunderRESPA:

                  a)Whethergoodsorfacilitieswcreactuallyfurnished orserviceswere
        actually perform ed forthe com pensation paid and;


                 b)W hetherthepaymentsarereasonablyrelatedtothevalueof thegoodsor
        facilitiesthatwere adually fum ished orserviceswere actually perfonned.


               90.In applyingthistest, HUD believesthattotalcom pensation should be
        scrutinized to assurethatisreasonobly related to thegoods, facilities,olservices
        #'
         aav.n lnlazx.l zx. v-rxvqfexom wx,4 k.n ,4zxvewowxlvxexvsvlawx+.lam.x1+ 10 1zx
                                                                                      zv ex l..n .1e
                                                                                                   x.qD   LN0D A erlam ln +rxvvexoe
Case 1:19-cv-24184-MGC Document 45 Entered on FLSD Docket 08/18/2020 Page 39 of 161
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         and incom ethatDefendantshavegained isdisproportionateto thesituation Plaintiff
        JamesBuckman findthemselvesinduedirectlyto Defendant'sfailuretodisclose
         thatthey willgain ar:nancialbenefitwhilePlaintiffJAMESBuckman suffer
         financially asaresultoftheloanproductsold toPlaintiffJamesBucknlan.
               91.Noseparatefee agreem entszregardingtheuseofthe fake LANCASTER
         M ortgage Bank LLC CostofSavings''asthe Index forthebasis ofthisloan,
         Disclosuresofadditionalincom edueto interestrate increasesorthepraperform
         and procedure in relation to the Borrow er's Rights to Cancelthe fake NOTE and
         M ORTGA GE.


                           SIXTH CAUSE O F A CTION-NO CONTM CT
                                   FLORIDA STATU E 697.t0


               gz.rrheA ssignm entfrom M ERStO Lancasterhasno Lot ol'parcel
         Description on The M ortgage assignm ettsee exhibitE & F w lkich is a
         voidand anillegalAssignment(SouthFlorida'sCitruslandCo.v,W alden,
         5150.554,59F1a.606(1910),andGarvinv.Baker,59S0,2d360(Fla.
         1952),alsoaccordingtoFla.Stat.697.10Forliability forerrorin
         m ortgage deed or N ote and in any action relating to realProperty.If the
         courtsballfindthatany person hasprepared an instrum entw hich dueto
         aninaccurateorim properlegaldescription im pairsanotherperson's
         titleto realproperty,the courtm ay aw ard to the prevailing party all
         actualdam agesthatshe or he m ay have sustained as a resultofsuch
         im pairm entoftitle.
               93,M usthave atleast one w itness.ButThere is no w itness on our
         mortgageassignm entinviolation of,117.05(b)1.a.b.c.d.e.seeexh.C
         Page 2,the assignm entis void.
               94,The Notary on the assignm entisa fake.TheNotaary stam p
         m ustcontain com m ission or ID num ber,to identify the person ifneeded
         toverifyorin court,(ourm ortgagenotefor1977addresshasn
Case 1:19-cv-24184-MGC   Document
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          com m ission or ID num berto




                95,hide theirthevery in the violation of F.S.117.05 (3)(A)and F.S.
          695.26(1)seeexh.Thenam eofeachperson whoexecuted such
          instrum entislegibly printed,tupe w ritten , orstam ped upon such
          instrum entim m ediatelybeneath the signature ofsuch person and the
         post-office address ofeach such person is legibly printed, type w ritten,
         orsstam ped upon such instrum entin violation of F,S.695.01 (1)and
         F.S.695.26 (1)(a)and F.S.494.0075 (5)and F.S.701.02 (1)(2)(3)exh.A
                  g6.Assignm entof M ortgage w as done 10/20/05the sam e
            1 in b the Lo          - . .- uto              09 30 05 tw      da sb for

           FakeClosing andwasdoneasanexhibit,see exhibitFz,andnotaparty
           ofthe assignm ent.So M ERS is notow ner and the Deutsche Bank
           Assignm entfrom M ERS isvoid Com pletely,and M ERSthuscausing
           Plaintiffsto sufferan im paired and defective Title, plaintiffasked for
           triple Dam ages.
Case 1:19-cv-24184-MGC
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                      SEVENTH CAUSE OFACTION:FM UD ANM ON-CEALM ENT-




                                  FLO RIDA STAT UE 726.105fd1



       Fed.Rule 3,1 Standing can be brought up any tim e even on Appeal. Denied
       DefendantsObjectionsto SalewithoutBank provingthey had Standing because
       the Bank filed Com plaint before they ow ned the N ote.Plaintiffforeclosed on
       the property before they ow ned it              by w ay of m aking a Fraudulent
       A ssignm entand taking D efendants property w ithouthaving Note ow nership             .



       This foreclosure should never have been allow ed because the Bank didn't
       have assignm ent,If w e look further,the Lis pendens that w as used has a

       recorded date of06/20/2007 an AssignmentofMortgage was recorded on
       thatdatebytheclerkofcourtin M iam iDadeasseen on exhibitc,andasseen on
       the sam e Docum ent,the A ssignm ent w as m ade after Lis Pendens w as filed
       which accardingto Mcleanv,JpMorgan ChaseBankN.A,).
      ThisisanlllegalforeclosurezyoucannotForecloseonapropertybeforeyouownittNote),
       therew asneveranyevidence ofDeutschekank everow ningthe lloteorhavinganykind
       ofanAssignm entbeforetherecordeddateof08/22/2007sothisAssignm enthasno
       effectagainstthe Creditorunless recorded before the Com plaint,see Fla stat.     .



       817.535(e)5(2)(A)apersonwhofilesordirectsafilerto filewiththeintenttodefraud
       orharassanother,orany lnstrum entcontaining a m ateriallyfalsefictitiousor
      fraudulentstatem entorrepresentationthat purports Bank filed Com plaintbefore they
      ow ned the Note.Plaintiffforeclosed on theproperty before theq ow ned itby w ay of
      m aking a FraudulentAssignm entand taking Defendants property w ithouthaving
      Note ow nership.Thisforeclosure should neverhavebeen allow ed becausetheBank
      didn'thaveassignm ent.Ifw e lookfurtherz theluispendensthatw asused hasarecorded
      datenf06 /20 /2007 an Asqijynm entofM nrtlaqe w a:recorded on thatdatebvthe clerk
Case 1:19-cv-24184-MGC     Document
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       ofcourtinM iam iDadeasseen on exhibitcz andasseen on thesam eDocum ent
                                                                                        ,   the
       Assignm entw asm ade afterLisPendensw asfiled w hich according to M clean v
                                                                                             .


       JpMorganChaseBankN,A.l,ThisisanlllegalforeclosurezyoucannotForeclose ona
       propertybeforeyouownittNotel,therewasneveranyevidenceafDeutschebankever
       ow ningthe NoteorhavinganykindofanAssignm entbeforeth
                                                            erecordeddateof
       08/22/2007 sothisAssignmenthasnoeffectagainsttheCreditorunlessrecorded
       before the Com plaint, seeFla.Stat.817.535(e)5(2)(A)apersonwhofilesordirectsa
      filerto filew ith theintenttodefratld orharassanoth
                                                          er,orany Instrum entcontaining a
      m aterialll'falsefictitiousorfraudulentstatem entorreprese
                                                                 ntationthatpurportsto
      affectow ners interestin the property described in the i
                                                              nstrum ent com m its a Felony,
      Assignm entsto property cannotbe m ade Retroactively the Assignm entbegins from
      the tim e thatthe docu m ent is recorded in the County Court.There have been
      num erous casesthatw ere dism issed because offaulty Assignm ents such asM clean V.
      IPM .AnIU S-B arA-K Ibane-zw here the M assaphusetts Suprem e
                  -   -       -




          Courtfound thatthem ortgagesw ereassignedtothelenderafterthe
         com plation oftheforeclosuresaleor,thecourtdecidedthatthr
         foreclosuresw erevoidbecausethe lenderslacked legala
                                                             uthority to
         forecloseandthentherew asaBatch v IasaileBank
                                                .


         N.A.171So.3d 207, 209(Fla.4*DCA2015)reversingaForeclosure
         Judgm entinpartbecause''theassignment(ofMortgagelwasexecuted
         afterthecom plaintw asfiled, alsoseeAbdelm arw icheand BatoulDarw iche
         v.BankofNew YorkM ellon, w hentheassignm entofm ortgageuponrfhe
         Bank ofNew York relied to establish itsstanding, theAppellate courtagreed
         W iththehomeowners/thatthegeneralissuesofmaterialfact!em ainedAs
        toW hethertheassignm entofm ortgagew assufficienttoestablish BNYM 'S
        Standing attheinception ofthesuitand alsoseeDarle
                                                         neAngeliniand
        JosephAngeliniv.HSBCBANK, etat.,4D14-216 thebankstestim ony did
        notestablish Therelevant:thatitheldthenoteatthetim eth
                                                              ecom plaint
Case 1:19-cv-24184-MGC     Document
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           w asfilad.
Case 1:19-cv-24184-MGC Document 45 Entered on FLSD Docket 08/18/2020 Page 44 of 161
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                                                                   -edïe 40 t)IZD rdtjell.l qOx7


           Although The Bank w asclearly the holderatthetim e itintrilduced the
           blankindorsedNoteattrial,''lajplaintiffslackofstandingattheinception
           ofthecaseand isnotaDefectthatm aybecured bytheacquisition of
           standingafterthecaseisfiled.Andcannotbeestablishedretroactivelyby
           acquiringstandingto filealaw suitafterthe fact.''LaFranceV .U .S.Bank
           Nat'lAssn.141So.3d754,756(Fla.*DCA 2014)and Mccleanv.JpMorgan,
           Therefore Deutsche Bank does nothave Standing to Foreclose,and here        -




           Deutsche Bank isatfaultand should paytrebble.


                        EIGHTH CAU SE OF ACTIOIk:PROPERTY SOLD A T
                              PRICE SO LOW T HA T IT SH OCK S TH E
                                            CON SCIEN CE




           The Plaintiffspropertyw assoldataprice solow itshocked theconscience
           theclerk sold plaintiffs$2,1m illion houseforam ere$42,000,00 seeelfb.
           Dlzinwhich waspurchasedby thesam ebank which is(DEUTSCH E
           BA NK NATIO NA I,TRUST COM PANY AS Trustee Under The Pooling And
           ServicingAgreementSeriesRast2006-A8ICSFBJthispriceissolow it
           shockstheconscience according to Fl.stat,45.031 -
           (8)MauriceSymonettedid fileobjection tosaleand demandsthatit
           beheard andhasfound new inform ationtofurtherstrengthelaourcaseto
           show thatthe bank is know ingly illegally taking this property.Deutsche
           Bank boughtthe property atauction in the foreclosure sale of'
                                                                       A e said
           property on 6/22/2017forfortytwothousandthreehundredDollarsthat
           priceissolow thatitshockstheconscienceaccordingtoFl.stat.45.031-(8)
           whichvolDstheSALEandRule702.Fl.Stat,702(5).
Case 1:19-cv-24184-MGC Document 45 Entered on FLSD Docket 08/18/2020 Page 45 of 161
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                                                                                          l6OJ


           F.S.A.M itchellV.M asonand also see,Firstbankv.FisherFrichtelInc.w hich
           says(ifthecaseissoinadequateastorliseaninferenceoffraudthenthe
           foreclosurecanbevoided)A1lthisdonetobvnassTax.0ocStamnsand do
           aw av w ith allthe liens and m oniesow ed attachedtothepronertv.And som e
           dayslaterafterrealizingthatw esaw the$42,300.00 salespriceforthe$2.1
           m illion andthatw eow ed and thatdefendants saw thatthesalespricew asso
           low ard againsttheLaw thatitshocked theconscience,thatw hen
           Defendants cam e back to question the Clerk aboutour Bankruptcy and
           w anted toshow them anagerhow ridiclllously low thatsalesl,vas.
           M ysteriouslythey show DefendantsanotherDeutsche Bankdifferentfrom
           thefirstDeutsche Bankthat
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           Clerkshowedusjustdaysearlierselling$42,300.00 butnow ftshow ed
           Defendant'spropertysoldfor$888,000.00 inw hichw ediscoveredlaterw as
           doneonthesam edate6/zz/zol7W fthdifferentbanktDeutscheBank
           NàtfonalTrustcom panyAsTrustee fOI-RESIDENATIALASSET
           SECURITIZATION trUStSerieSZOO6 A8M ORTGA GE PASS-
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           THROUGH CERTIFICATES SERIES 2006              -
                                                             H),even afterthem seaingustape
           them saying m outh, giving itto us in w riting and show ing us an their
           Governm entcom puterthe salespriceat$42,300.00 w ith w ivnesses see
          YouTube:(DadeClerksarelawless)see
          Exb. 1.This show sFraud and Collusion againstthe Defe
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          take the property w rongfully w hich isthe m ain reas
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          to sale and thiscom plaintisthatthesalepriceissolow th
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          conscience.Theforeclosure anlountow ed w as 2 6 m illion and the estim ated
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          hundred.And the Foreclosure w as started w hile def nd
          Bankandw ehavenroofthatw ew ereatakinethenavm entsbeforeandafter
          theBank startedtheforeclosureonusseeexhibits1,2.3,4.5.and6.this
          foreclosure saleneedsto bevoided and recalled due to the clerk ofthe court
          carelessand fraudulentactivity    ,




             NINTH CA USE OF-A CTION :VIOLATION OF TIM ELY
                      ASSIGNM ENT FLA . STAT .702.02 A N D FLA .
                      STAT.726105+ )

     Alsotheinstantassignm entw asalso untim ely in orderf
                                                          orthe
     foreclosure to be legaltheassignm enttothem ortgage
                                                         m ustbeentered
     inatim elym anner, thatisitshould beentered beforetheforeclosure
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        thiscaseitwasnot,theLisPendenswasrecorded 06/20/2007, exhibit
        B,and theassignm entw asrecorded
        08/22/2007whichwasatleast63daysaftertheForeclosureseeExhibit
        Czthus Deutsche Bankforeclosed beforetheyeven ow ned theNoteand
        they knew itand tried itanyw ay hopingthatthey could getaw ay w ith it
                                                                                         ,

        an assignm entcannotBe Assigned retro actively see Progressive Exp. lns,
        Co,Y M cgrath Com ty.Chiropractic, 913So.2d1281,(Fla.2dDCA 2005),
        theplaintiffslackofstanding attheinceptinn ofthe case isnota clefect
        thatm ay becured by theacquisition ofstandingafterthe case is filed          .


        Thusa party is notperm itted to establish the rightto m ainta in an
        action retroactively byAcquiring standingto file a law suitafterthe fact..
        Mcleanv,JpMorgan.ThereforeDeutscheBankilasnoStandinginthe
        ow nership ofthesaid




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        propertyarldforDeutschetoam endthecom plainttostartoverw
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        onlysuggestfraud (Pinov.BankofNew York)asitalreadyisbythe
        natureofthetransaction thetransaction it'sselfisdeceptiveandtohave
        thisfaultofanassignm entw ritten afterthecom plaintisfilled,but
        Deutsche Bank N .A.Stillclaim theyhavestanding isan action offraud a
                                                                                       s
        havebeentried byso m any othercasesand theBank
                                                      sthatdidtllem lost
        (USBankN,A.vIbanez),Murrayv, HSBCBankUSA 20060P1)ana
       (Powersv.HSBC BANK USA 2006) A fraudulentTransfer is one w hen
                                              .


       one isthreatenedw ithsuitbeforeassignm entofproperty ism ade,Fl.
       Stat.726,105(D),and alsoUCCArticle3line#6saysassignm entsor
       endorsem entsm ustbe effectuated 8efore suitisfiled progressiveExp
                                                                 .                     .

       Ins.co.v.M cgarth Com ty, Also Fla.Fourth DCA and UCC F S.DH 673
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       ARTICLE 3 OFTHE UCC:saysthey m ustprove they ow nth
                                                               e Notebefore
       they foreclose,On N otethiscase isvoid, Deutsche Bank has no standing
       in thiscase and property should beaw arded to plaintiffsor M onetary
       dam ages.
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        TK TH CAPSE 0F ACTION:THEREW AS NO CONSIDX ATIO N TIE BA
                                                                            -NK CONSIDE    -



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        FloridaContract(MailBoxLaw)(4)saysyou mtlstinordertoconsum m ate a
        contractoran assignm entyou m ustgiveconsideration m oney           ,
                                                                                TheJudge Erred and
        isinViolation ofFloridaContractLaw (4)fornotDismissingthetasebecausethe  -
                                                                                 -

       Assignm enthasno Consideration M oneyon theAssi
                                                         gnm entbetw een Lancaster
       BaIAIILLCanIIM ERS notonly didtheyviolate the30 da
                                                          ynoticeontheAssignm ent
       bytryingto salethe N ote on thesam e dayand th
                                                     eyalso neverconsum m ated the
       contractw ith m oneyconsiderationzseeexb.B and C.pleaand effect of
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       plea ofconsideration throw s burden on piaintiff
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       464:W hitev.Cam p , 1 Fla.,94.Plea ofw antofconsideration asagainstb
                                                                              ona fide
       holderofnegotiableprom issorynote H ancock
                                                       v.Hale,17 F1a.,808 Section     .

       does notobviate
       necessityofexhibitionofinstrum enttothejurriwhenexhibited,
       consideration pre-assignm entorendorsem ent                  Sinclairv.Gray,g
       FLA .,342.EFFECT OFSW ORN AN D
       unsw orn plea ofw antofconsiderartion     lb.Plea m ustsetforth facts Ahrens
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      v,W illis,6 fila.,359.H ow draw n andw hatshould contaili W hit
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      Fla.,94 M ustriotbe
      equivalentto illegality or failure ofconsideration     -- -
                                                                    Orm an v barnard, 5 Fla.,528,
      Effectof

      unsw orn pleabyadm inistrator         Knightv Knight, '?Fla,,253.M ERS isnoton the
      originalnote

               3fiasanom ineeoranythingatallandtheNoteshow satthe
     endorsem entpageoftheLancasterbank'snotethatall
                                                      paym entsaredueto
    LANCASTZR M ortgage BankLl,c on Oct.20*,2005 and Lancasteronthesam eday
    signed thenotetoM ERsw ithouta3o daynoticeand'
                                                   w ith no m oney
    consideration andLANCASTER M ortgagepankLLc
                                                  accordingtoLancasterw as
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        now the note holder as stated on the back ofthe note butLAN CASTER
        MortgageBankLLCdid assign thenoteovertoM ERS (seeexhibitC,)so M ERS
        according to Lancaster's m oney consideration failure andto Lancasterisnotthe
        ow neroftheNoteand M ERSneverdidbuy the N ote or the assigsm entbecause
        they neverconsum m ated the assignm entw ith the consideration m oney,so
        therefore the assignm entfrom M ersto De atsche Bank is Invalid because M ERS
        could notsign anote to D eutsche Bank w hen they don'tow n the Note.A nd don't
        forgetthe assignm entw as late,Filed afterthe lis Pendens w asfiled in violation
        ofFlorida DCA third districtcourtofappeal,Mclean v.JpM organ.


              J.t FLEVENTH CAUSE OFACTION VIOLATION GM P FASB FAS 140
                    RULE AS GOV ERENED BY TH E SEC A N D T H E US D EPT .O F
                    T H E TR EA SU RY


        This iswhat1'm Quieting theTitle aga instthe SEC and Treasury for.The
        FederalGAA P FASB FAS 140 Rule saysthatw hen a NOTE issold on the m arket
        asa security,the N OTE m ustbeburnedanddestroyed and canneverbeasa
        foreclosureinstrum entbecausethatisSEC Fraud becausetheIPShasw ritten
        thedestroyed lossoffzthenthe insurance paid the loss offand then sold iton
        the m arket.The N OTE w as also seperated form the m ortgage w henthe
        originalProm issory N orrE w asnotrecorded alongw ith M ortgage atthecounty
        level,A dditionally,theM ortgagew asseparated form the Notew hen theloan w as
        bundled together w ith hundreds orthousands ofother loansto create
        m unicipalbond funds,in orderto selland trade on W allStreet.W hen the
        OriginalNotew asbundled itw asdestroyed and given anum bertopresent
        othersfok'm double-dipping,thatis,to preventothersfrom resellingthe
        prom issory N oteagain.By learningthisinform ationztheoriginalw etblue ink
        prom issory Notecannotbeproduced,becauseitw asdestroyed 'vvhen itw as
        hllndlpd tnfyoth or nnd nllt intn n qocllritivpd lnnn tiIlqt tn qollnna trndp nn
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        w allstreet.To seperatetheNOTE from them ortgageistocollapsethetrust.See

        Carpenterv.Longan,83
        U.S.at274(findingthatanassignm entoftheinortgagew ithouttheNoteisa
        nullity);Landm arkNat'lBankvslleslerzzl6p.3d158,166-67(Kan.2009)(''In
        theEventthata
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        m ortgage loan som ehow separates interest ofthe Note and the deed oftrust,

        w ith the deed oftrustlying w ith som e independententity,the m ortgage m ay
        becomeunenforceable''l,seealso3;Fla.lur.MortgagesandDeedsofrfrust'z4o
        (Onewhodoesnothavetheownership,possession,ortherighttopossession
        ofthe m ortgage and the obligationsecuredbyit,m aynotforeclosethe
        m ortgage).''Them oltgagerollowsthenote.AnassignmentoftheNotecarries
        them ortgagewithit,whileanassignm entofthelateraloneisanullity.''(Capitol
        Investors Co.vs.Executors ofthe Estate ofM orison,484 F.2d 1157,1163n.
        ''W hen a note issecured by a m ortgage isassigned,the m ortgage follow s
        thenoteinto the handsofthe m ortgagee,''ln otherw ordszthe noteisheld and
        ow ned by the certificate holders oftrust,and the m ortgage follow sthe Note,




                           A LSO IF LAN CA STER W AS A CT UALLY A N O TE


        0n oraboutM arch 1,2006 (hereinafterreferred toas''closingDate'')
       PlaintiffJam es8uckman whoownsthehousethatwasQuitClaim edtoand
       ow ned by Leroy W illiam swh0wassupposedto enterintoa consum ercredit
       transaction w ith LANCASTER M ortgage
       Bank LLC BY 0 BTAIN ING A $1.5 m illion m ortgage loan secured by a FirstTrust
      Deed on the PropertyinfavorofLancasterLLc.ButthesALEN EvER HAppEN ED TH E
      FAlfEloanonthehouse w assecuritized,w ith theNoteand notbeing properly
      transferred to Defendant,Deutsche
      Bank,actingastheTrustee forthe LAN CASTER M ortgage Bank LLC,holding
      plaintiffsNote.Docum entsfiled w ith the SEC by the securitizatiorz
      participants allegedly claim thatthenoteand deed oftrustatissuein thiscase
      w eresoldztransferred and Securitized by Defendants,w ith other loans and

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      m ortgagesw ith aggregate principalbalance ofapproximately $1,5 m illion
      into LAN CASTER M ortgage Bank LLC Balance ofLLC Trust,w hich isacom m on
      Law rrrustform ed pursuanttoNew Yorklaw .A detaileddescriptiolt
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     ofthe m ortgageloansw hich form the LANCASTER M ortgage Bank LLC is
     included in Form 42485 (''The prospectus''),which hasbeen dux
                                                                 'y filled
     w ith the SEC and w hich c an be accessed through the above m entioned

      footnote.


      Anexpert,certified,forensicauditofthePlaintiffsloandocum entsrevealsthat
     Plaintiffs m ortgage notew asrequired to atleastgo through thisassignm ent
     chain ofkeypartiesbefore itreached theREM IC trustee itw asdestined for:
     ThePlaintiffsPSA requiresthathis/hernoteordeedoftrusthadtoi7e
     endorsed and assigned,respectively,tothetrustand executed bym ultiple
     interveningparties in theaboYe chain ofassignm entbefore
     itreached the REM IC Trustee,

     Plaintiffexecuted aseriesofdocum entszincludingbutnotlim itedtotheN ote
     andDeed ofrrrust,Securingtheproperty intheam ountofthe Notexrfhe
     Originalbeneficiaryand nom inee underthe Deed ofTrustw as m ers.
     Plaintiffisinform ed andbelieveszand thereon alleges,thatthepurcbase
     m ortgageonthe property,thedebtorobligation evidencedbytheNoteandthe
     deed ofTrustby plaintiffin favorofthe originallender and other Defendants,
     regarding the Property,w asnotproperlyassignedandtransferredto
     Defendantsoperatingthepooledm ortgagefundsoitrustsinaccordancew ith
     thePsAand/orFLORIDA law ofentitiesmakingandreceivingthepurported
      assignmentstothistrust.lnaccordancewiththepsAand/orFLoRlDAlaw of
      the entitieslnaking and receiving the purported assignm entsto thistrust.
      Plaintiffallegesthatthe PSA requiresthateach Note ofTrusthad to endorsed and

      assigned,respectively ,to the trustand executlve by m ultiple interview ing
      parties before itreached the Trust.Here,neitherthe Note northe Deed of
      Trustw as assigned to the SecuritizedTrustbyclosingdate.Thereforeyunder
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              false docum ents.


            W H EREFORE,Plaintiffrequests actualand specialdam ages including
        attorneys feesand costs againstthese Defendantsjointly and severally for
        abuse oflegalprocess.



                                     COUNT 15 VIOLATION ON THE 1964 CIVIL RIGH TS ACT



               breaking allLaw s to take our property because w c are black in a w hite

              Neighbor A .
                         Csaid to us by a D eustche B ank Rep w ho said w e w hites

               don'tw lntB lacks in this Neighborhood and the police took m y yacht

               because my Neighborsaid he didn'tNiggers on Yachts in his

               Neighborhood see Godsz.com video 10A            = -
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                                 IllegalConsum er Collecti
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                         DCPA claimsagainstalldefendants ceptSF)
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                             FCCPA claim sagainstalldefe ants)

                Pl intiffrealleges and in rporatespa graphs 1-58 asthough fully tforth
         in thispa agraph.
                                               IllegalCo    m erCollection
                                         (FDCPA claimsa inst defendantsexceptSF)
                                              FCCPA cl msagains -l1defendants)

                Pl intiffreallegesa              incorporatesparagraphs -58 asthough fully setf rth
          in thispa agraph.
             aa.'r e FDCPA   s enacted to protect allconsum ers m debt colle tors
                w ho seek t collect debts through illegal lncans an w ho engag in
                unfair or ut right theivery and/or deceptive practice during the
                collectio ofa debt.Plaintiff,s are defending them selves fro     eut he
                Bank or Lancaster w ho is Foreclosing on us as t'consum ers''w ith' he
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               the utter lies perpetuated upon her including the Plaintiffs attorney's
               feesand costs associated w ith each case.Attorneysfees and costsare
               soughtpursuantto Fla.Stat.5501,2105.

                    W HEREFORE,Plaintifflespectfiilly requestthatthisCourtaw ard
                damages,,kand any otherjustand appropriate reliefunderthe law,
                including butnotlim itedto,attorneys'fees and costs.




                                   IllegalConsum er Collection
                               CPA claim s againstalldefen a                       .-...
                             SF) CPA claim sagainsta efendants)

                     Plaintiffreallegesan ' c poratesparagraphs1-58 asthough
                fully setforth in this par gra .


             r. TheFDCPA w ase acted to protectall nsum ersfrom debtcollectors
                w bo seek to c lect debts through illega ncans and w ho engage in
                unfair or o righttheivery and/or decept e practices during the
                collectioh fa debt.Plaintiffzsare defendingthem s vesfl.om Deutshe
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                Bank or ancaster who is Foreclosing on us as ''consùp ers''w ithin
                the n) aningofFDCPA,15U,S.
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     DEUTSCHEBANK NATLTRCO (TRIV5JOHN,JAMESIJD IE

      LocalCase Number: 2007-018226-CA-01             Filing Date: 06/18/2007
       Rate CaseNumber: 132007CA0182260D0001 JudicialSeuion; CA02

    Consolidated Case No.:                             CaseType: zDO NOT USE-Lesacy MortgageForeclosure

              CaseStatus: CLO&ED


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                 115         06/05/2020              Motion:                   Event      AND AFFIDAVIT FOR RELIEF,RECUSAQ VACATION OFORDERS
                                                                                          AND M EMORANDUM OFLAW

                             03/06/2020              NoticeofIntent


                             02/29/2020              NoticeofIntent                       TO SUE.


                 112         02/28/2020                                                   TO M IAM ICOUNTY JUDGEMIGUELDE LA O OFINTENTTO SUE
                                                                                          AND TO GIVE 30 DAY NOTICE.

                             10/25/2019              Certificateof             Event      Parties:BuckmanJamesJr
                                                     Indigency/
                                                     Insolvency

                 110         10/25/2019              Affidavitof               Event      (APPROVED)
                                                     Indigency

                 109         10/25/2019 31672:653    Noticeof                             FIKED BY:JAMES BUCKMAN & MAQRICESYMONETTE
                                                     AppealNon-
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                 107         10/11/2019                                                   RECEIPT#:2750005AMTPAlD:$120.00COMMENT:ALLOCATION
                                                                                          CODEQUANTITYUNITAMOUNT312GCOPY9: $1.00$90.00
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         4.     AgG    as in K xne Plazav suprw the problem here is thn# the Plaintif llas
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Case 1:19-cv-24184-MGC Document 45 Entered on FLSD Docket 08/18/2020 Page 142 of 161


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             Note.
        5.    In shorkthePlnintie Bank basfaiIM uY y to d= en- testaadmg
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        6.    M ally ca sm pportmy argum enttbatPlsirltie Bank in thisCaSe hasno standm
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        7.    Fllrther, iuBarclaysBank PLC v. Johnsom 499 S.
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              M ERS cases.each ofthe above cited cases9om North Carolina CouztsofAppeal
              have eaoh apparently relied upon the underlying expressly stated sK tion of the
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              Legan on 18 Augtzst2005.(See ttExhibitGB''already 51ed into tbis cease and
              attached to DefendK t's M otion To D ism iss,a true copy of the opirlion renderH
              and entered by Judge W alt Logan in the Pl ellasColmty Florida CirouilCourtcase
              XyIH In Re> RS)n atconsolidated case efsome twenty (20)separate casesin
              wbich M ERS w as the moving party in a foreclosure actiow the court,on its ew n
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                       txlbjnne.d uponinformationgained attheret
                                                               atrnhearing,itappears
                       thattherealparty in interestinm any ofthese casesisnotknown at
                       the tim e Cemple tforM ortgage Foreclosure isEled.n e concept
                       is foreign to tbis court.Carefulreview ofthe argum ent presented
                       by attorney Broce does notconvirzoe the CourtthatM ERS isa
                       realparty in interestin any sense.o
        10. n ecourtwentOn to œ ncludethat
                   :VBF'nM upon the above nnnlysis.the Courtfm ds it apprepriate to
                       dismisswith prejudiceasto MER:the complaintsasnothaving
                       been fIled by the properparty and thereforethe complaintsdo not
                       state a cause of aotion and are dism issed. M orales and D ollar
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        mpportingand per=mding rationaltheM iami-DadeCountyvFloridaCircuitCourt
        Case of M ERS ie.M ORTGAGE H ,   ECTROM C REGISTRATION SYSTEM S.
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        also (see m ze and oerrr oopy of ivem-
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        Gordon onthe28* day of September2005.(Se Evhibi:çr 'attachedhereto and
        made a permnnentpartofthe rx ord in the present case.In tllese oonsolidated
        cmsesJudgeG rden'sOrderonpage9underSHAM PLEADG GS states:

                                 'W ow we address the more troublmg       ' quei on of
                             w bether M 174 % has com m - ' M frmld upon the Court by
                             knowingly ftling pleadingswhich contain allegationswbich
                             are clearly false,asa m ere pretense setup in bad faith and
                             w ithout color of fact.'*''A plea is considered tshnm 'w hen
                             it is palpably er inherently false, and 9om the plain or
                             conceded factg in the case, m ust have been know n to the
                             party interposing it to be tm true.'''' See Rllea v.Hnlkney.
                             157So.190.193(F1m1934).
        FllrlherJudge G ordon w enton to say in M ER S vs.Cabre:a Supra:

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                             2d.659(3dD.C.A.Fla.1977).3'
        Onpage 12 ofJudgeGordon'sOrderSuprw he stmtns:

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        Alse (m page 15 Suprw Judge G ordon states:
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                             s'uch false allegations. The falsity ofthe allegations is
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                             incorpate by reference into t*e Am ended Com plaintin
                              Case# 05-11570. M ERR created a world ofelm tronic
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